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             EXHIBIT “A”
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 TANYA MCCARTNEY and MARK
 MONTGOMERY, Individually and
 as Administrators of the ESTATE OF         CIVIL ACTION NO.: 3:21-CV-166
 KAIDON A. MONTGOMERY,

                              Plaintiffs,   JURY TRIAL DEMANDED

                v.

 KIDS 2, INC. f/k/a KIDS II, INC.; and
 KIDS 2, INC. d/b/a, t/a, a/k/a
 INGENNUITY

                              Defendant.

THOMAS E. BOSWORTH, ESQ.’S REPLY BRIEF TO DEFENDANT’S REPLY BRIEF
        IN SUPPORT OF DEFENDANT’S MOTION FOR SANCTIONS

       I know that writing this brief probably is not even in my best interests, but, after much self-

reflection, I know that it is what I must do. The way that I spoke to defense counsel in the at-issue

depositions was rude and unacceptable. I am especially ashamed of the personal insults that I

unfairly levied against Ms. Bassin. While tensions may run high during depositions and strong

disagreements may arise, the manner in which I chose to address these disagreements was wrong.

I allowed my strong desire to zealously represent the parents of a dead child to override my

judgment in how to respectfully address opposing counsel.

                                                      Respectfully submitted,



                                                      /s/ Thomas E. Bosworth________________
                                                      THOMAS E. BOSWORTH, ESQ.
